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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
        v.                                   :
                                             :      Case No. 08-CR-0057 (TNM)
MIGUEL TREVIÑO MORALES,                      :
                                             :
                Defendant.                   :


                             DEFENDANT’S NOTICE OF FILING

                Defendant Miguel Treviño Morales, by and through undersigned counsel,

respectfully requests that the attached Defendant’s First Request for Discovery be made part of

the record in this case.

Dated: Washington, DC
       June 9, 2025                          Respectfully submitted,

                                             BALAREZO LAW


                                                     /s/ A. Eduardo Balarezo
                                     By:     ____________________________________
                                             A. Eduardo Balarezo
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                                             Counsel for Miguel Treviño Morales
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                                 CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on this 9th day of June 2025, I caused a true and

correct copy of the foregoing Defendant’s Notice of Filing and First Request for Discovery to be

delivered via Electronic Case Filing to the Parties in this case.



                                                             /s/ A. Eduardo Balarezo
                                                       ______________________________
                                                       A. Eduardo Balarezo
